 

Case 1:21-mc-00006-UA-LPA Document 4-7 Filed 02/05/21 Page 1 of 10
 

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Kotak Mahindra Bank

 

 

 

 

  

 

 

  
  

   

CYBERROOT RISK ADVISORY PRIVATE LIMITED Period 01-01-2016 To 31-12-2016
Cust.Rein.No Fe
Account No - |
Currency USD
House Number-791 Sector-10-A Branch GURGAON- MEHRAULI GURG
Nominee Registered N
GURGAON-122001
HARYANA, INDIA. a s
Date Narration Chd/Ref No Withdrawal (Dr) Deposit(Cr) Balance
B/F 91,900.00(Cr)
07-01-2016 43,900.00 48,000.00(Cr)
08-01-2016 14,926.61 62,926.61(Crh
04-02-2016 44,459.50 107,386.11(Cr)
12-02-2016 48,000.00 59,386.11(Cr)
26-02-2016 “ 11,965.00 71,351.11(Cr)
14-03-2016 FIR-0261FIR16022894-VITAL 7,500.00 78,851.11(Cr)
MANAGEMENT SERVICES INC
15-03-2016 FIR-0261FIR16023323-VITAL 7,500.00 86,351.11(Cr)
MANAGEMENT SERVICES INC
16-03-2016 2,565.00 88,916.11(Cr)
30-03-2016 5,995.73 94,911.84(Cr)
31-03-2016 11,962.50 106,874.34(Cr)
18-04-2016 §,995.75 112,870.09(Cr)
28-04-2016 é te __ 11,962.50 124,832.59(Cr)
29-04-2016 4,874.34 119,958.25(Cr)
10-05-2016 FIR-0261FIR16041606-VITAL 10,000.00 129,958.25(Cr)
MANAGEMENT SERVICES INC
16-05-2016 FIR-0261FIR16043148-VITAL 14,991.67 144 ,949.92(Cr)
MANAGEMENT SERVICES INC
20-05-2016 FIR-0261FIR16045084-VITAL 42,491.67 187 ,441.59(Cr)
MANAGEMENT SERVICES INC
25-05-2016 17,965.00 205,406.59(Cr)
25-05-2016 43,000.00 162,406.59(Cr)
07-06-2016 4,975.00 167,381.59(Cr)
07-06-2016 9,965.00 177,346.59(Cr)
07-06-2016 FIR-0261FIR16052056-VITAL 47,991.67 225,338.26(Cr)}

 

MANAGEMENT SERVICES INC

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Kotak Mahindra Bank

 
  

CYBERROOT RISK ADVISORY PRIVATE LIMITED Period : 01-01-2016 To 31-12-2016

Cust.Reln.No : |
Account No : fF
Currency >: USD

House Number-791 Sector-10-A Branch

GURGAON- MEHRAULI GURG
Nominee Registered : N

 

 

  
 
  
 
 
 
  
  

 

 

GURGAON-122001
 HARYANAINDIA. = ee ;
Date Narration Chq/Ref No
_ Withdrawal (Dr D i
10-06-2016 FIR-0261FIR16053726-VITAL =“ ot es
MANAGEMENT SERVICES INC sai ti al
16-06-2016 FIR-0261FIR16055560-VITAL
MANAGEMENT Soe 9,500.00 242,338.26(Cr)
20-06-2016 4,000.00 238,338.26(Cr)
20-06-2016 60,000.00 178,338.26(Cr)
21-06-2016 11,975.00 190,313.26(Cr)
11-07-2016 6,000.00 196,313.26(Cr)
19-07-2016 FIR-0261FIR16068174-VITAL 82,991.67 279,304.93(C
MANAGEMENT SERVICES INC pee
20-07-2016 3,500.00 282,804.93(Cr)
20-07-2016 7,490.00 290,294.93(Cr)
25-07-2016 5,975.00 296,269.93(Cr)
26-07-2016 5,975.00 302,244,93(Cr)
59,000.00 243,244.93(Cr)

27-07-2014

28-07-2016 ae 5,975.00 249,219.93(Cr)
49,491.67 303,686.60(Cr)

03-08-2016 FIR-0261FIR16074994-VITAL
MANAGEMENT SERVICES INC 4,800.00 305,186.60(Cr)

a
‘ 14,991.67 320,178.27(Cr)

26-08-2016 FIR-0261FIR16083889-VITAL

 

 

MANAGEMENT SERVICES INC 3,975.00 324,153.27(Cr)

31-08-2016
6,475.00 330,628.27(Cr)

06-09-2016
56,491.67 387,119.94(Cr)

 

06-09-2016 FIR-0261FIR16088183-VI
MANAGEMENT SERVICES INC 3 unas stench

ee 7500.00 401.004 940

FIR-0261FIR16090420-VITAL
ieee MANAGEMENT SERVICES INC

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Case 1:21-mc-00006-UA-LPA Document 4-7 Filed 02/05/21 Page 4 of 10
Kotak Mahindra Bank

  

CYBERROOT RISK ADVISORY PRIVATE LIMITED Period 01-01-2016 To 31-12-2016

Cust.ReIn.No ; i

 

 

 

 

 

 

    
 
  

 

 

Account No : Za
Currency : USD
House Number-791 Sector-10-A, Branch : GURGAON- MEHRAULI GURG
Nominee Registered : N
GURGAON-122001
HARYANA INDIA © ss
wats Natieton Chq/Ref No Withdrawal (Dr) Deposit(Cr) Balance
10-06-2016 FIR-0261FIR16053726-VITAL
MANAGEMENT SERVICES INC ie Oe 232,838.26(Cr)
16-06-2016 FIR-0261FIR16055560-VITAL
MANAGEMENT SERVICE eee 242,338.26(Cr)
20-06-2016 4,000.00 238,338.26(Cr)
20-06-2016 60,000.00 178,338.26(Cr)
21-06-2016 11,975.00 190,313.26(Cr)
11-07-2016 6,000.00 196,313.26(Cr)
19-07-2016 FIR-0261FIR160681 74-VITAL 82,991.67 279,304.93(Cr)
MANAGEMENT SERVICES INC
20-07-2016 3,500.00 282,804.93(Cr)
20-07-2016 7,490.00 290,294.93(Cr)
25-07-2016: 5,975.00 296,269.93(Cr)
26-07-2016 5,975.00 302,244.93(Cr)
27-07-2016 59,000.00 243,244.93(Cr)
28-07-2016 5,975.00 249,219.93(Cr)
01-08-2016 4,975.00 254,194.93(Cr)
03-08-2016 FIR-0261FIR16074994-VITAL 49,491.67 303,686.60(Cr)
MANAGEMENT SERVICES INC
10-08-2016 po 1,500.00 305,186.60(Cr)
26-08-2016 FIR-0261FIR16083889-VITAL 14,991.67 320,178.27(Cr)
MANAGEMENT SERVICES INC
31-08-2016 3,975.00 324,153.27(Cr)
475.00 330,628.27(Cr
06-09-2016 6 (Cr)
56,491.67 387,119.94(Cr
6-09-2016 FIR-0261FIR16088183-VITAL (Cr)
MANAGEMENT SERVICES INC 6,475.00 393,594.94(Cr)
8-09-2016
7,500.00 401,094.94(Cr)
2-09-2016 FIR-0261FIR16090420-VITAL

MANAGEMENT SERVICES INC

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Kotak Mahindra Bank

 

CYBERROOT RISK ADVISORY PRIVATE LIMITED

House Number-791 Sector-10-A

| _ GURGAON-122001
HARYANAINDIA- 2

Period > 01-01-2016 To 31-12-2016
Cust.Reln.No : i

Account No : i

Currency : USD

Branch : GURGAON- MEHRAUL!I GURG

Nominee Registered : N

 

Date Narration Chq/Ref No

 

14-09-2016

16-09-2016 FIR-0261FIR16092103-VITAL
MANAGEMENT SERVICES ING

 

21-09-2016 Es
21-09-2016
26-09-2016

27-09-2016 FIR-0261FIR16096180-VITAL
MANAGEMENT SERVICES INC

03-10-2016
03-10-2016

10-10-2016 FIR-0261FIR16102005-VITAL
MANAGEMENT SERVICES INC

i

13-10-2016 FIR-0261F1IR16102773-VITAL
MANAGEMENT SERVICES INC

18-10-2016 FIR-0261F1R16105112-VITAL
MANAGEMENT SERVICES INC
“27-10-2016 —FIR-0261FIR16109553-VITAL
MANAGEMENT SERVICES INC

 

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28-10-2016
28-10-2016

28-10-2016

04-11-2016 FIR-0261FIR16113247-VITAL
MANAGEMENT SERVICES INC

08-11-2016

10-11-2016 sass FIR16115141-VITAL

MANAGEMENT SERVICES INC
15-11-2016 FIR-0261FIR16116762-VITAL
MANAGEMENT SERVICES INC

17-11-2016
30-11-2016

 

 

Case 1:21-mc-00006-UA-LPA

Withdrawal (Dr) Deposit(Cr) Balance
15,000.00 386,094.94(Cr)
2,500.00 388,594.94(Cr)
1,500.00 390,094.94(Cr)
6,975.00 397 ,069.94(Cr)
77,769.94 319,300.00(Cr)
10,000.00 329,300.00(Cr)
7,000.00 336,300.00(Cr)
43,000.00 293,300.00(Cr)
2,500.00 a 295,800.00(Cr)
5,970.00 301,770.00(Cr)
27,491.67 329,261.67(Cr)
77,191.67 406,453.34(Cr)
24,991.67 431,445.01(Cr) :
10,000.00 421,445.01(Cr)
10,000.00 431 ,445.01(Cr)
10,000.00 421,445.01(Cr)
1,500.00 422,945.01(Cr)
12,975.00 435,920.01(Cr)
5,000.00 440,920.01(Cr)
5,000.00 445,920.01(Cr)
150,000.00 295,920.01(Cr)
99,000.00 196,920.01(Cr)

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CYBERROOT RISK ADVISORY PRIVATE LIMITED

House Number-791 Sector-10-A

Kotak Mahindra Bank

  

Period : 01-01-2016 To 31-12-2016
Cust.Reln.No :_ xz

Account No : P|

Currency : USD

Branch : GURGAON- MEHRAUL! GURG

Nominee Registered’ : N

 

 

 

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~~ HARYANA INDIA —— rots
Date Narration Chq/Ref No Withdrawal (Dr) Deposit(Cr) Balance
02-12-2016 5,000.00 201,920.01(Cr)
07-12-2016 FIR-0261FIR16126711-VITAL 21,491.67 223,411.68(Cr)
MANAGEMENT SERVICES INC
13-12-2016 5,000.00 218,411.68(Cr)
14-12-2016 10,000.00 208,411.68(Cr)
22-12-2016 FIR-O0261FIR16132934-VITAL 7,500.00 215,911.68(Cr)
MANAGEMENT SERVICES INC
23-12-2016 FIR-0261FIR16133907-VITAL 27,491.67 243,403.35(Cr)
MANAGEMENT SERVICES INC
30-12-2016 4,620.01 238,783.34(Cr)
Statement Summary
Opening Balance 91,00.00(Cr)
.29(D
Total Withdrawal Amount G87 1E42KO
47.63(Cr
Total Deposit Amount 834.0 cen)
238,783.34(Cr)
Closing Balance
_, Withdrawal Count us
Deposit Count =

 

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Kotak Mahindra'Bank

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CYBERROOT RISK ADVISORY PRIVATE LIMITED Period : 01-04-2016 To 01-07-2020
Cust.Reln.No Pe
Account No | |
\, Currency : USD
House Number-791 Sector-10-A Branch - GURGAON- MEHRAULI GURG | :
Nominee Registered : N ;

GURGAON-122001
HARYANA, INDIA

 

 

   
 
 

   

 

 

Date. Narration Cha/Ref No Withdrawal (Dr) Deposit(Cr) Balance
73-10-2016 FIR-0261FIR16102773-VITAL 27,491.67 329,261.67(Cr) ;
- MANAGEMENT SERVICES INC ; ;
48-10-2016 FIR-0261FIR16105112-VITAL 77,191.67 406,453.34(Cr) j
MANAGEMENT SERVICES INC :
| -97-40-2016  FIR-0261FIR16109553-VITAL 24,991.67 431,445.01(Cr)
\ MANAGEMENT SERVICES INC
4 28-10-2016 10,000.00 421,445.01(Cr)
, ml 4
‘A 28-10-2016 40,000.00 431,445.01(Cr)
, { 28-10-2016 10,000.00 421,445.01(Cr)
© 94-11-2016 FIR-0261FIR16113247-VITAL 1,500.00 422,945.01 (Cr)
FI MANAGEMENT SERVICES INC
¥ 08-11-2016 a 42,975.00 435,920.01(Cr)
) 40-17-2016 FIR-0261FIR16115141- 5,000.00 440,920.01(Cr)
/ - MANAGEMENT SERVICES INC
16-11-2016 FIR-0261FIR16116762-VITAL 5,000.00 445,920.01(CN)
i MANAGEMENT SERVICES INC
17-11-2016 450,000.00 295,920.01 (Cr)
| 39-11-2016 99,000.00 196,920.01(Cr)
02-12-2016 5,000.00 201,920.01(Cr)
07-12-2016 FIR-0261FIR16126711-VITAL 21,491.67 223,411.68(Cr)
MANAGEMENT SERVICES INC
13-12-2016 5,000.00 218,411.68(Cr)
14-12-2016 10,000.00 208,411.68(Cr)
' 99-42-2016 FIR-0261FIR16132934-VITAL 7,500.00 215,911.68(Cr)
MANAGEMENT SERVICES INC
23-12-2016 FIR-0261FIR16133907-VITAL 27,491.67, 243,403.35(Cr)
| _ MANAGEMENT SERVICES INC é
| 204 2-2016 » EEFC CONVERSION DEC2016 4,620.01 238,783.34(Cr)
: + a ‘
4 03-01-2017 FIR-0261FIR17000646-VITAL 17,991.67 256,775.01(Cr)
4 *  WANAGEMENT SERVICES INC ‘
% 03-01-2017 FIR-0261F1R17000647-VITAL . 17,991.67 274,766.68(Cr)
MANAGEMENT SERVICES INC Ad
2,500.00 277,266.68(Cr)

o 40-01-2017 FIR-0261F1R17003419-VITAL

 

MANAGEMENT SERVICES ING

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CYBERROOT RISK ADVISORY PRIVATE LIMITED Period : 01-04-2016 To 01-07-2020

 

Cust.Reln.No ; P|
Account No : i
Currency >: USD
House Number-791 Sector-10-A Branch : GURGAON- MEHRAULI GURG
Nominee Registered : N
GURGAON-122001
HARYANA, INDIA
Date Narration Chq/Ref No Withdrawal (Dr) Deposit(Cr) Balance

 

18-01-2017 FIR-0261FIR17006527-VITAL 89,991.67 272,258.35(Cr)
, MANAGEMENT SERVICES INC ?

24-01-2017 FIR-0261FIR17009016-VITAL 7,500.00 279,758.35(Cr)
MANAGEMENT SERVICES INC \

24-01-2017 Po 90,000.00 189,758.35(Cr)
234,750.02(Cr)

01-02-2017 FIR-0261FIR17012866-VITAL 44,991.67
», MANAGEMENT SERVICES INC
13-02-2017 FIR-0261FIR17017831-VITAL ge ; 9,000.00 243,750.02(Cr)

MANAGEMENT SERVICES INC

Cy es ha
14-02-2017 FIR-0261FIR17018158-VITAL 108,989.67 , 297,739.69(Cr)
MANAGEMENT SERVICES INC f :

 

30-03-2017 20,000.00 ; . 277,739.69(Cr)
31-03-2017 439.69 277,300.00(Cr)
19-04-2017: 49,960.00 327,260.00(Cr)
04-05-2017 49,980.00 277,300.00(Cr)
20-08-2017 3,303.87 280,603.87(Cr)
asiach 60,000.00 220,603.87(Cr)
23-05-2017 62,000.00- 982,603.87(Cr)
23-06-2017 79,952.00 362,585.87(C1)
Seat 400,000.00 262,556.87(C0
reeraee 7,000.00 269,555.87(Cr)
18-07-2017 117,300.00 452,255.87(Cr)
3 1-07-2017 45,255.87 407,000.00(Cr)
16-08-2017 69,992.00 476,992.00(Cry
76,000.00 400,992.00(Cr)

 

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Kotak Mahindra Bank

 

 

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| 29-12-2017

02-01-2018
11-01-2018
17-01-2018
23-01-2018
20-02-2018
05-03-2018

05-03-2018

 

 

CYBERROOT RISK ADVISORY PRIVATE LIMITED Period > 01-04-2016 To 01-07-2020
‘ Cust.Rein.No : |
Account No : fF
\- Currency : USD
House Number-791 Sector-10-A Branch : “GURGAON- MEHRAULI GURG
Nominee Registered N
GURGAON-122001
HARYANA, INDIA
Narration Cha/Ref No Withdrawal (Or) Deposit(Cr) Balance
22-09-2017 FIR-0261FIR17122328-VITAL 439,990.00 240,982.00(Cr)
MANAGEMENT SERVICES ING
29-09-2017 992.00 239,990.00(Cr) =
25-10-2017 109,990.00 349,980.00(Cr) B.
26-10-2017 440,000.00 209,980.00(Cr) r #
22-11-2017 129,950.00 339,930.00(Cr) Su
‘ \
30-11-2017 409,980.00 229,950.00(Cr)
05-12-2017 109,980.00 419,970.00(Cr)
06-12-2017 129,950.00 249,920.00(Cr)
12-12-2017 7,972.00 257 892.00(Cr)
24-12-2017 403,000.00 360,892.00(Cr)
22-12-2017 7,972.00 368 ,864.00(Cr)
19,970.00 348 894.00(Cr)
29-12-2017 15,964.00 364,858.00(Cr)
100,000.00 264,858.00(Cr)
45,000.00 279,858.00(Cr)
89,952.00 369 810.00(Cr)
40,000.00 379,810.00(Cr)
79,810.00 300,000.00(Cr
49,992.00 349,992.00(C!
6,170.00 343,822.00(C!
04-04-2041 6,400.00 350,222.00(C:
880.00 349,342.00(Cr

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Case 1:21-mc-00006-UA-LPA

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